             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                     1:24-cv-00218-MR-WCM

RALPH TRAPAGA and                                  )
MAUREEN TRAPAGA                                    )
                                                   )
            Plaintiffs,                            )
v.                                                 )            ORDER
                                                   )
CHARLES DOUGLAS WILLIAMS and                       )
BECKY BENSON WILLIAMS                              )
                                                   )
           Defendants.                             )
_______________________________

       This matter is before the Court on a Motion for Admission Pro Hac Vice

and Affidavit (the “Motion,” Doc. 12) and an Amended Motion for Admission

Pro Hac Vice and Affidavit (the “Amended Motion,” Doc. 15) filed by Kimberly

N. Carpenter. The Amended Motion indicates that Ms. Carpenter, a member

in good standing of the Bar of this Court, is local counsel for Plaintiffs and that

she seeks the admission of Matthew E. Cook, who the Motions represent as

being a member in good standing of the Bar of Georgia. It further appears that

the requisite admission fee has been paid, and that there is no opposition to

the Amended Motion.




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IT IS THEREFORE ORDERED THAT:

  1. The Motion for Admission Pro Hac Vice and Affidavit (Doc. 12) is

    DENIED AS MOOT;

  2. The Amended Motion for Admission Pro Hac Vice and Affidavit (Doc. 15)

    is GRANTED; and

  3. Matthew E. Cook is ADMITTED to practice pro hac vice before the Court

    in this matter while associated with local counsel.

                              Signed: November 1, 2024




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